Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 1 of 55 Page ID #:14258


  1
      John Shaeffer (State Bar No. 138331)
  2   jshaeffer@lathropgage.com
      Jeffrey Grant (State Bar No. 218974)
  3   jgrant@lathropgage.com
      LATHROP & GAGE LLP
  4   1888 Century Park East, Suite 1000
      Los Angeles, CA 90067
  5   Tel: (310) 789-4600 Fax: (310) 789-4610
  6   R. Cameron Garrison (admitted pro hac vice)
  7   cgarrison@lathropgage.com
      David R. Barnard (pro hac vice)
  8   dbarnard@lathropgage.com
      Travis W. McCallon (pro hac vice)
  9   tmccallon@lathropgage.com
      LATHROP & GAGE LLP
 10   Kansas City, MO 64108
      Tel: (816) 292-2000 Fax: (816) 292-2001
 11
      Petty Tsay Rader (State Bar No. 227563)
 12   petty.rader@munchkin.com
 13
      MUNCHKIN, INC.
      16689 Schoenborn Street
 14   North Hills, CA 91343
      Tel: (818) 893-5000 Fax: (818) 893-6343
 15
      Attorneys for Plaintiff MUNCHKIN, INC.
 16

 17                          UNITED STATES DISTRICT COURT

 18                         CENTRAL DISTRICT OF CALIFORNIA

 19   MUNCHKIN, INC.,                         Case No. 2:11-CV-503-ODW (RZx)
 20                      Plaintiff,           PLAINTIFF MUNCHKIN’S
                                              DEPOSITION DESIGNATIONS
 21           v.
 22   PLAYTEX PRODUCTS, LLC, et al.
                                              Trial Date: April 30, 2013
 23                      Defendants.
 24   PLAYTEX PRODUCTS, LLC,
 25                     Counter-Plaintiff,
 26           v.
 27   MUNCHKIN, INC.,
 28           Counter-Defendant.


      20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 2 of 55 Page ID #:14259




1
             Pursuant to Local Civil Rule 16-2.7 of the United States District Court of
2
     Central District of Los Angeles and the agreement of the Parties, Plaintiff Munchkin,
3
     Inc. hereby submits the page and line number designations of trial and deposition
4
     testimony by the following witnesses that may be used at trial.
5
6
     DATED: April 29, 2013                   LATHROP & GAGE LLP
7
8                                            By: /s/ Jeffrey Grant
9                                                 Cameron Garrison (pro hac vice)
                                                  David R. Barnard (pro hac vice)
10                                                Travis W. McCallon (pro hac vice)
                                                  John Shaeffer
11                                                Jeffrey Grant
                                                  Petty Tsay Rader
12
                                                  Attorneys for Plaintiff
13                                                MUNCHKIN, INC.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 3 of 55 Page ID #:14260




1    CHAMBERS, EDGAR (6-29-2011)
2
3        Plaintiff's                           Defendant's
                       Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
4                         to Designation                           Cntr-Desig
        (page:line)                            (page:line)
5     4:11-8:22        Relevance
6     10:7-13:2        Relevance
7     13:12-13:13      Relevance
8     13:17-14:12      Relevance
9     14:13-14:21      Relevance
10    14:25-15:3       Relevance
11    20:2-21:22       Relevance

12    24:4-24:18       Relevance

13    25:7-25:9        Relevance
      25:21-26:7       Relevance
14
      26:21-26:25      Relevance
15
      28:1-29:3        Relevance
16
      29:15-29:23      Relevance
17
      30:6-34:24       Relevance
18
      35:2-36:19       Relevance
19
      37:4-38:19       Relevance
20
      39:2-39:23       Relevance
21
      40:7-40:21       Relevance
22
      41:3-43:10       Relevance
23
      43:20-49:15      Relevance
24    52:5-52:9        Relevance
25    52:11-52:19      Relevance
26    52:23-53:17      Relevance
27    53:25-54:4       Relevance
28
                                          1
     20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 4 of 55 Page ID #:14261




1
         Plaintiff's                               Defendant's
2                      Defendant's Objection                     Plaintiff's Objection to
        Designation                                Cntr-Desig
                          to Designation                               Cntr-Desig
3       (page:line)                                (page:line)
      54:6-54:8        Relevance
4
      54:9-55:21       Relevance
5
      55:24-56:1       Relevance
6
      59:17-60:12      Relevance
7
      71:8-71:19       Relevance
8
      71:22-72:10      Relevance
9
      72:12-73:2
10
      73:6-74:5
11
      74:13-74:20      relevance
12
      74:22-75:8       Relevance
13    75:10-75:13      relevance
14    76:12-76:21      relevance
15    77:1-77:3        relevance
16    77:5-77:8        relevance
17    77:13-77:15      relevance
18    78:20-79:8       Relevance
19    81:10-81:12      Relevance
20    81:15-81:22      Relevance
21    82:2-82:8        Relevance
22    82:11-82:13      relevance
23    82:16-83:5       relevance
24    89:12-89:16      Relevance
25    89:18-90:16      Relevance

26    90:25-91:22      Foundation; relevance       141:21–
                                                   142:23
27
      96:1-96:20       relevance
28
                                               2
     20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 5 of 55 Page ID #:14262




1
         Plaintiff's                               Defendant's
2                      Defendant's Objection                     Plaintiff's Objection to
        Designation                                Cntr-Desig
                          to Designation                               Cntr-Desig
3       (page:line)                                (page:line)
      103:25-104:19    Foundation; relevance;
4
                       improper hypothetical
5
      104:21-105:23    Foundation; relevance;
6                      improper hypothetical
7     106:10-106:13    Improper impeachment
8     106:24-108:14    Improper impeachment;
                       foundation; relevance;
9                      403
10    108:16           Improper impeachment;
11                     relevance; 403
12    108:20-108:21    Improper impeachment;
                       relevance; 403; privilege
13
      108:24-109:2     Improper impeachment; 109:3;
14                     relevance; 403; privilege 113:16–23;
15                                               114:2–14

16
17
18
19
20
21
22
23
24
25
26
27
28
                                             3
     20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 6 of 55 Page ID #:14263




1    DURDEN, CATHERINE (12-21-2011)
2
3        Plaintiff's                           Defendant's
                       Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
4                         to Designation                           Cntr-Desig
        (page:line)                            (page:line)
5     4:13 -4:15
6     7:7-7:11
7     12:15-12:20
8     12:22-13:20                              13:21–14:2
9     47:8-47:18
10    47:24-48:4
11    48:6-48:10

12    48:12-48:23

13    50:1-50:18                               50:19–51:8
      52:14-52:22                              53:2–9
14
      58:4-58:8                                58:11–13;
15
                                               58:20–59:10
16
      59:11-59:13
17    59:15-59:16                              59:20–24      59:23 – Attorney
18                                                           comment
19    59:25-60:3
20    60:7-60:9
21    60:24-60:25

22    61:5-61:8

23    61:25-62:7
      63:2-63:6
24
      64:4-64:5
25
      64:7-64:9                                64:10–65:10
26
      65:11-65:18
27
28
                                          4
     20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 7 of 55 Page ID #:14264




1
         Plaintiff's                            Defendant's
2                      Defendant's Objection                   Plaintiff's Objection to
        Designation                             Cntr-Desig
                          to Designation                             Cntr-Desig
3       (page:line)                             (page:line)
      66:6-66:17       Relevance; foundation;
4
                       vague; confusing
5
      67:7-67:16       Relevance; foundation;
6                      vague; confusing
7     67:18            Relevance; foundation;
                       vague; confusing
8
      112:7-112:10                              111:11–22      Not proper counter-
9                                                              designation/unrelated to
10                                                             underlying designation;
                                                               excluded pursuant to
11                                                             Sensory Spectrum
12                                                             motions in limine
13    112:12-112:14
14    113:5-113:9
15    113:11-113:22

16    114:9-114:13

17    114:15-115:2
      115:4-115:7                               116:5–17       Not proper counter-
18
                                                               designation/unrelated to
19                                                             underlying designation;
                                                               excluded pursuant to
20
                                                               Sensory Spectrum
21                                                             motions in limine
22    126:14-126:19
23    126:23-127:13    Relevance; foundation    127:14–128:2
24    128:12-128:15                             128:19–24;
                                                129:3–14
25
      128:18
26
      129:22-129:25
27
28
                                            5
     20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 8 of 55 Page ID #:14265




1
         Plaintiff's                               Defendant's
2                      Defendant's Objection                     Plaintiff's Objection to
        Designation                                Cntr-Desig
                          to Designation                               Cntr-Desig
3       (page:line)                                (page:line)
      130:3-130:14     Relevance; foundation;
4
                       argumentative
5
      130:16-130:19    Relevance; foundation
6     136:15-137:22    Relevance; foundation;
7                      cumulative; confusing
8     137:25-138:7     Relevance; foundation
9     138:9-138:18     Relevance; foundation
10    138:19-138:22    Relevance; foundation

11    139:11-139:14    Relevance; foundation

12    174:17-174:23
      244:11-244:24
13
      245:2-245:5
14
      246:16-246:24    Relevance; foundation;
15
                       confusing; 403
16    247:2-247:21     Relevance; foundation;
17                     confusing; 403;
                       improper hypothetical
18
      247:25-248:2     Relevance; foundation;
19                     confusing; 403;
20                     improper hypothetical
21    258:23-259:9     Cumulative
22    259:12-259:24    Foundation; relevance

23    260:2-260:4      Foundation; relevance

24    260:7-260:9      Foundation; relevance
      260:11-260:16    Foundation; relevance
25
      260:18-260:24    Foundation; relevance
26
      261:2-261:3      Foundation; relevance       261:5–12      261:10-11 – Attorney
27                                                               objection
28
                                               6
     20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 9 of 55 Page ID #:14266




1
         Plaintiff's                               Defendant's
2                      Defendant's Objection                     Plaintiff's Objection to
        Designation                                Cntr-Desig
                          to Designation                               Cntr-Desig
3       (page:line)                                (page:line)
      261:13-261:22    Foundation; relevance
4
      261:25           Foundation; relevance
5
      262:20-262:23    Foundation; relevance
6
      262:25-263:9     Foundation; relevance;
7                      cumulative
8     263:16-263:25    Foundation; relevance;
9                      cumulative
10    264:20-264:24    Relevance; foundation

11    266:21-266:22    Relevance; foundation

12    266:24-267:2     Relevance; foundation
      267:5-267:11     Relevance; foundation;
13
                       cumulative
14
      267:13-267:18    Relevance; foundation;
15                     cumulative
16    267:20-267:22    Relevance; foundation;
                       cumulative
17
      268:8-268:9      Relevance; foundation;
18                     cumulative
19    268:21-268:25    Relevance; foundation;
20                     cumulative
21    269:1-269:5      Foundation; relevance
22    269:8-269:16     Foundation; relevance;
                       argumentative; 403
23
      269:19-270:10    Foundation; relevance
24
      270:21-270:25    Foundation; relevance
25
      276:11-277:2     Foundation; relevance;
26                     confusing; 403
27    277:14-278:8     Foundation; relevance;
                       confusing; 403
28
                                               7
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 10 of 55 Page ID
                                     #:14267



1
         Plaintiff's                                  Defendant's
2                      Defendant's Objection                         Plaintiff's Objection to
        Designation                                   Cntr-Desig
                          to Designation                                   Cntr-Desig
3       (page:line)                                   (page:line)
      278:18-278:23    Foundation; relevance;         278:24–       279:7 – Attorney
4
                       argumentative;                 279:11        objection
5                      confusing; 403
6     280:13-280:24    Foundation; relevance;
                       cumulative; 403
7
      281:2-281:10     Foundation; relevance;
8                      cumulative; 403
9     288:13-288:14    Ex. 164—No objection
10                     if just first page. If rest,
                       portions of exhibit and
11                     attachments relate to
12                     tests not listed in Order
                       on Playtex MIL No. 4;
13                     FRE 401, 402 (lacks
14                     relevance); FRE 403
                       (prejudice, misleading,
15                     risks confusion).
16    288:16-289:11    Foundation; relevance;
17                     privilege; 403
18    289:14-289:20    Foundation; relevance;
                       privilege; 403
19
      289:23-290:4     Foundation; relevance;
20                     privilege; 403
21    290:6-290:13     Foundation; relevance;
22                     privilege; 403

23    290:15-290:21    Foundation; relevance;         291:17–292:3; Add 290:22-291:8 –
                       privilege; 403                 294:20–       completeness
24                                                    295:17        295:11-12 – Attorney
25                                                                  objection

26
      296:18-296:22    Foundation; relevance;         296:8–17      296:12 – Attorney
27                     vague; argumentative                         objection
28
                                                 8
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 11 of 55 Page ID
                                     #:14268



1
         Plaintiff's                               Defendant's
2                      Defendant's Objection                      Plaintiff's Objection to
        Designation                                Cntr-Desig
                          to Designation                                Cntr-Desig
3       (page:line)                                (page:line)
      296:24-297:2     Foundation; relevance;
4
                       vague; argumentative
5
      297:4-297:9      Relevance
6     297:12-297:22    Foundation; relevance;
7                      argumentative; 403
8     297:25           Foundation; relevance;
                       argumentative; 403
9
      298:5-298:15     Foundation; relevance;
10                     argumentative; 403;
11                     improper hypothetical
12    298:18-298:21    Foundation; relevance

13    298:23-299:7     Foundation; relevance       299:8–11

14    299:12-299:14    Foundation; relevance

15    301:3-301:11     Foundation
      314:18 (start    Foundation; relevance       315:23–316:8   316:4 – Attorney
16
      w/ "We're")-                                                objection
17    314:23
18    317:20-318:6     Relevance; foundation       318:12–20      318:16-17 – Attorney
                                                                  objection
19
      318:21-318:25    Relevance; foundation;      319:2–21       319:8 – Attorney
20                     confusing; 403                             objection
21    321:8-321:17     Relevance; foundation;      321:18–
22                     confusing; 403              323:19
23    323:20-323:21    Relevance; foundation;
                       confusing; 403
24
      323:23-324:12    Relevance; foundation;      324:12–17
25                     confusing; 403
26    332:3-332:7      Relevance; foundation;
27                     cumulative

28
                                               9
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 12 of 55 Page ID
                                     #:14269



1
         Plaintiff's                            Defendant's
2                      Defendant's Objection                  Plaintiff's Objection to
        Designation                             Cntr-Desig
                          to Designation                            Cntr-Desig
3       (page:line)                             (page:line)
      332:10-332:12    Relevance; foundation;
4
                       cumulative
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           10
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 13 of 55 Page ID
                                     #:14270



1    HARADA, CHIKAKO (12-14-2011)
2
3            Playtex’s Response to Plaintiff’s Designations: Pursuant to the Court’s

4    instructions, and the agreement of the parties, Ms. Harada is available to be called

5    as a live witness to testify during Munchkin’s presentation of its case-in-chief. As

6    Ms. Harada is an available witness, Playtex objects to her testimony proceeding by

7    deposition (see Fed. R. Civ. P. 32(a)(4)), and Playtex thus has not submitted

8    specific objections or counter-designations to Munchkin’s designations for this

9    witness, even though Playtex would have objections if these topics are probed

10   during the live testimony at trial.

11
         Plaintiff's                                 Defendant's
12                       Defendant's Objection                        Plaintiff's Objection to
        Designation                                  Cntr-Desig
                            to Designation                                  Cntr-Desig
13      (page:line)                                  (page:line)

14    4:17-5:4
      20:4-20:18
15
      22:5-22:8
16
      30:13-30:19
17
      75:24-76:18
18
      77:8-77:13
19
      84:18-84:25
20
      85:11-85:25
21
      86:10-86:15
22
      87:9-87:13
23
      93:21-94:18
24
      94:21
25    98:24-99:20
26    99:23-100:5
27    100:8-100:18
28
                                              11
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 14 of 55 Page ID
                                     #:14271



1
         Plaintiff's                           Defendant's
2                      Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
                          to Designation                           Cntr-Desig
3       (page:line)                            (page:line)
      101:8-102:7
4
      102:10
5
      106:22-107:5
6
      107:8-107:16
7
      109:21-110:13
8
      110:16-111:9
9
      111:24-112:14
10
      113:4-113:7
11
      113:10-113:21
12
      145:23-145:24
13    146:6-151:6
14    151:25-152:19
15    154:21-154:23
16    155:8-155:11
17    155:18-156:7
18    156:10-156:13
19    159:18-159:24
20    160:7-160:14
21    166:5-169:7
22    169:10-170:3
23    170:5-170:7
24    170:15-171:16
25    172:3-172:18

26    172:21-173:9

27    173:13-175:10
      175:13-177:4
28
                                         12
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 15 of 55 Page ID
                                     #:14272



1
         Plaintiff's                              Defendant's
2                      Defendant's Objection                    Plaintiff's Objection to
        Designation                               Cntr-Desig
                          to Designation                              Cntr-Desig
3       (page:line)                               (page:line)
      177:23-179:23
4
      180:2-180:20
5
6
     MOWERS, STEPHEN (4-24-13)
7
8        Plaintiff's   Defendant's Objection      Defendant's   Plaintiff's Objection to
       Designation        to Designation          Cntr-Desig          Cntr-Desig
9       (page:line)                               (page:line)
      5:12-5:15
10
11    18:05-18:10
12    19:03-19:10                                 20:3-5
13    24:20-24:22                                 24:23-25:7
14
      29:03-29:07                                 29:08-29:23
15
      30:03-30:06      Vague and ambiguous
16
      30:25-31:07
17
      31:09-31:10
18
19    33:12-34:02
20    36:11-36:21                                 34:18-22;
                                                  36:3-7
21
      42:20-43:09                                 41:22-42:4
22
      45:21-46:02
23
      46:11-46:16      FRE 602 (lack of
24
                       personal knowledge);
25
                       Hearsay (FRE 802); calls
26                     for legal conclusion.
27    70:18-70:22      FRE 401 (relevance)        70:23-71:11
28
                                             13
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 16 of 55 Page ID
                                     #:14273



1        Plaintiff's                                Defendant's
       Designation     Defendant's Objection        Cntr-Desig     Plaintiff's Objection to
2       (page:line)       to Designation            (page:line)          Cntr-Desig
3     71:24-72:18      FRE 401 (relevance)         71:20-23
4     73:06-73:09      Assumes facts not in
5                      evidence; vague and
6                      ambiguous; FRE 602
                       (lack of
7
                       foundation/personal
8                      knowledge)
9     73:11-73:11      Question assumes facts
10                     not in evidence; vague
11                     and ambiguous; FRE
                       602 (lack of
12
                       foundation/personal
13                     knowledge)
14    73:13-73:18      Question assumes facts
15                     not in evidence; vague
16                     and ambiguous; FRE
                       602 (lack of
17
                       foundation/personal
18                     knowledge)
19    73:25-74:09      Question assumes facts      74:10-75:3
20                     not in evidence; vague
21                     and ambiguous; FRE
                       602 (lack of
22                     foundation/personal
23                     knowledge)
24    76:17-76:18                                  76:13-15
25    81:06-81:13      refers to odor control      77:4-6;78:5-
                                                   21; 80:7-81:5
26                     claim on product that is
27                     not at issue on retrial

28
                                              14
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 17 of 55 Page ID
                                     #:14274



1        Plaintiff's                                 Defendant's
       Designation     Defendant's Objection         Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation             (page:line)         Cntr-Desig
3     81:15-82:05      refers to odor control
4                      claim on product that is
5                      not at issue on retrial

6     82:23-83:06      refers to odor control
                       claim on product that is
7
                       not at issue on retrial
8
      85:16-86:03      refers to odor control
9                      claim on product that is
10                     not at issue on retrial
11    86:4-86:5        Assumes facts not in
12                     evidence; misstates
                       testimony; misleading;
13
                       refers to odor control
14                     claim on product that is
15                     not at issue on retrial
16    86:7-86:9        Question assumes facts
17                     not in evidence;
                       misstates testimony;
18
                       misleading; refers to
19                     odor control claim on
20                     product that is not at
21                     issue on retrial
      86:11-86:14      Misleading; refers to
22
                       odor control claim on
23
                       product that is not at
24                     issue on retrial
25
26
27
28
                                                15
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 18 of 55 Page ID
                                     #:14275



1        Plaintiff's                                  Defendant's
       Designation     Defendant's Objection          Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation              (page:line)         Cntr-Desig
3     95:5-95:9        Relates to Playtex
4                      internal test that is
5                      irrelevant under FRE
                       401 because not
6                      introduced for the
7                      purposes permitted by
8                      the Court’s 05/03/12
                       order, or in the
9
                       alternative, subject to
10                     limiting instruction that
11                     it is admissible not for its
                       truth but only to show
12
                       inadequacy of Playtex’s
13                     external testing or of
14                     sensory testing generally
15                     (“Relevance-Scope of
                       Internal Testing
16
                       Objection”)
17    95:11-16         Relevance-Scope of
18                     Internal Testing
19                     Objection
20    96:05-96:12      Relevance-Scope of
21                     Internal Testing
                       Objection
22
23
24
25
26
27
28
                                               16
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 19 of 55 Page ID
                                     #:14276



1        Plaintiff's                                Defendant's
       Designation     Defendant's Objection        Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation            (page:line)         Cntr-Desig
3     125:5-125:9      Testimony concerns
4                      Playtex internal test that
5                      is not among the three
                       permitted by the Court’s
6                      5/3/12 order on Playtex
7                      MIL # 4; FRE 403
8                      (cumulative); FRE 401
                       (relevance)
9
      125:11-125:15    Testimony concerns
10
                       Playtex internal test that
11                     is not among the three
12                     permitted by the Court’s
13                     5/3/12 order on Playtex
                       MIL # 4; FRE 403
14
                       (cumulative); FRE 401
15                     (relevance)
16    125:16-125:20
17    126:8-127:3
18    127:6-127:13
19
      128:13-128:17    Relevance-Scope of
20                     Internal Testing
21                     Objection
22    132:24-132:25    Relevance-Scope of
23                     Internal Testing
                       Objection
24
      133:20-134:13    Relevance-Scope of
25
                       Internal Testing
26
                       Objection
27
28
                                              17
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 20 of 55 Page ID
                                     #:14277



1        Plaintiff's                             Defendant's
       Designation     Defendant's Objection     Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation         (page:line)         Cntr-Desig
3     135:3-135:20     Relevance-Scope of
4                      Internal Testing
5                      Objection

6     135:21-135:24    Relevance-Scope of
                       Internal Testing
7
                       Objection
8
      136:2-136:2      Relevance-Scope of
9                      Internal Testing
10                     Objection
11    136:4-136:6      Relevance-Scope of
12                     Internal Testing
                       Objection
13
      136:9-136:15     Relevance-Scope of
14
                       Internal Testing
15
                       Objection
16
      136:17-136:21
17
      136:22-137:10    Relevance-Scope of
18
                       Internal Testing
19                     Objection
20    144:22-145:2     Relevance-Scope of
21                     Internal Testing
22                     Objection

23
24
25
26
27
28
                                            18
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 21 of 55 Page ID
                                     #:14278



1        Plaintiff's                                Defendant's
       Designation     Defendant's Objection        Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation            (page:line)         Cntr-Desig
3     145:4-145:4      Relevance-Scope of          145:6-13
4                      Internal Testing
5                      Objection; question
                       assumes facts not in
6                      evidence; vague and
7                      ambiguous;
8                      mischaracterizes
                       testimony
9
      145:21-146:9     Relevance-Scope of          146:10-18
10
                       Internal Testing
11                     Objection
12    146:22-146:24    Relevance-Scope of
13                     Internal Testing
14                     Objection
15    148:2-148:21     Relevance-Scope of
16                     Internal Testing
                       Objection
17
      148:24-149:5
18
      149:25-150:10    Relevance-Scope of
19
                       Internal Testing
20                     Objection
21    151:19-151:23    Relevance-Scope of
22                     Internal Testing
23                     Objection
24    154:7-155:7      FRE 1002, 1004 (best
25                     evidence rule); FRE 802
                       (hearsay)
26
      155:13-155:18
27
28
                                              19
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 22 of 55 Page ID
                                     #:14279



1        Plaintiff's                               Defendant's
       Designation     Defendant's Objection       Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation           (page:line)         Cntr-Desig
3     156:17-157:12    FRE 1002, 1004 (best
4                      evidence rule); FRE 401
5                      (relevance); question at
                       157:9-12 assumes facts
6                      not in evidence.
7     157:14-15        FRE 1002, 1004 (best
8                      evidence rule); FRE 401
9                      (relevance); question at
                       157:9-12 assumes facts
10
                       not in evidence.
11
      157:22-158:19    FRE 1002, 1004 (best
12
                       evidence rule); FRE 802
13                     (hearsay); FRE 805
14                     (hearsay within hearsay);
                       FRE 401 (relevance)
15
      158:25-159:4     FRE 1002, 1004 (best
16
                       evidence rule); FRE 802
17
                       (hearsay); FRE 805
18                     (hearsay within hearsay);
19                     FRE 401 (relevance)
20    159:5-159:6

21    159:8-159:11
22
23
24
25
26
27
28
                                            20
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 23 of 55 Page ID
                                     #:14280



1        Plaintiff's                               Defendant's
       Designation     Defendant's Objection       Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation           (page:line)         Cntr-Desig
3     161:9-161:25     FRE 1002, 1004 (best
4                      evidence rule); FRE 802
5                      (hearsay); FRE 805
                       (hearsay within hearsay);
6                      FRE 401 (relevance);
7                      question at 161:22-25
8                      mischaracterizes
                       document; vague and
9
                       ambiguous
10
      162:3-162:16     FRE 1002, 1004 (best
11                     evidence rule); FRE 802
12                     (hearsay); FRE 805
13                     (hearsay within hearsay);
                       FRE 401 (relevance);
14
                       question at 161:22-25
15                     mischaracterizes
16                     document; assumes facts
                       not in evidence; vague
17
                       and ambiguous
18
      162:17-163:2
19
      164:3-164:7
20
      164:8-164:23     FRE 1002, 1004 (best
21
                       evidence rule); FRE 802
22                     (hearsay); FRE 805
23                     (hearsay within hearsay);
24                     FRE 401 (relevance);
                       question at 164:18-23 is
25
                       compound; assumes
26                     facts not in evidence.
27
28
                                            21
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 24 of 55 Page ID
                                     #:14281



1        Plaintiff's                               Defendant's
       Designation     Defendant's Objection       Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation           (page:line)         Cntr-Desig
3     164:25-165:7     FRE 1002, 1004 (best
4                      evidence rule); FRE 802
5                      (hearsay); FRE 805
                       (hearsay within hearsay);
6                      FRE 401 (relevance);
7                      question at 164:18-23 is
8                      compound; assumes
                       facts not in evidence.
9
      165:12-165:17    FRE 1002, 1004 (best
10
                       evidence rule); FRE 802
11                     (hearsay); FRE 805
12                     (hearsay within hearsay);
13                     FRE 401 (relevance);
                       question at165:14-17
14
                       assumes facts not in
15                     evidence.
16    165:19-165:21    FRE 1002, 1004 (best
17                     evidence rule); FRE 802
18                     (hearsay); FRE 805
                       (hearsay within hearsay);
19
                       FRE 401 (relevance);
20                     question at165:14-17
21                     assumes facts not in
                       evidence.
22
23
24
25
26
27
28
                                            22
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 25 of 55 Page ID
                                     #:14282



1        Plaintiff's                                Defendant's
       Designation     Defendant's Objection        Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation            (page:line)         Cntr-Desig
3     167:18-169:10    FRE 1002, 1004 (best
4                      evidence rule); FRE 802
5                      (hearsay); FRE 805
                       (hearsay within hearsay);
6                      FRE 401 (relevance);
7                      question at 169:6-10 is
8                      compound; vague and
                       ambiguous
9
      169:12-169:12    FRE 1002, 1004 (best
10
                       evidence rule); FRE 802
11                     (hearsay); FRE 805
12                     (hearsay within hearsay);
13                     FRE 401 (relevance);
                       question at 169:6-10 is
14
                       compound; vague and
15                     ambiguous
16    169:14-17        FRE 1002, 1004 (best
17                     evidence rule); FRE 401
18                     (relevance)

19    188:18-189:8     FRE 1002, 1004 (best
                       evidence rule); FRE 401
20
                       (relevance)
21
      190:6-190:16     Testimony concerns
22                     Playtex internal test that
23                     is not among the three
24                     permitted by the Court’s
                       5/3/12 order on Playtex
25
                       MIL # 4; FRE 403
26                     (cumulative)
27
28
                                              23
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 26 of 55 Page ID
                                     #:14283



1        Plaintiff's                                Defendant's
       Designation     Defendant's Objection        Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation            (page:line)         Cntr-Desig
3     191:2-191:6      Testimony concerns
4                      Playtex internal test that
5                      is not among the three
                       permitted by the Court’s
6                      5/3/12 order on Playtex
7                      MIL # 4; FRE 403
8                      (cumulative)
9     191:8-192:4      Testimony concerns
                       Playtex internal test that
10
                       is not among the three
11                     permitted by the Court’s
12                     5/3/12 order on Playtex
13                     MIL # 4; FRE 403
                       (cumulative)
14
      192:5-192:13
15
      192:18-193:4     FRE 401 (relevance)
16
17    193:22-194:2     FRE 401 (relevance)
18    194:3-194:6
19    194:8-194:12
20    206:6-206:9
21    214:16-214:19    FRE 401 (relevance);
22                     FRE 1002, 1004 (best
23                     evidence rule); FRE 802
                       (hearsay)
24
      214:20-215:10    FRE 401 (relevance);
25
                       FRE 1002, 1004 (best
26                     evidence rule); FRE 802
27                     (hearsay)
28
                                              24
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 27 of 55 Page ID
                                     #:14284



1        Plaintiff's                                Defendant's
        Designation    Defendant's Objection        Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation            (page:line)         Cntr-Desig
3     215:14-216:18    FRE 401 (relevance);
4                      FRE 1002, 1004 (best
5                      evidence rule); FRE 802
                       (hearsay); question at
6                      216:16-18 was asked and
7                      answered
8     216:21-217:10    FRE 401 (relevance);
9                      FRE 1002, 1004 (best
                       evidence rule); FRE 802
10
                       (hearsay); 805 (hearsay
11                     within hearsay)
12    217:12-217:16    testimony concerns
13                     Playtex internal test that
14                     is not among the three
                       permitted by the Court’s
15
                       5/3/12 order on Playtex
16                     MIL # 4; FRE 403
17                     (cumulative); question at
18                     217:15-16 was asked and
                       answered; harassing the
19
                       witness.
20    217:18-218:5     testimony concerns
21                     Playtex internal test that
22                     is not among the three
23                     permitted by the Court’s
                       5/3/12 order on Playtex
24                     MIL # 4; FRE 403
25                     (cumulative). Question
26                     at 218:2-5
                       mischaracterizes
27
                       document.
28
                                              25
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 28 of 55 Page ID
                                     #:14285



1        Plaintiff's                                Defendant's
       Designation     Defendant's Objection        Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation            (page:line)         Cntr-Desig
3     220:14-220:15
4     220:17-220:22
5     221:23-223:5     testimony concerns
6                      Playtex internal test that
7                      is not among the three
8                      permitted by the Court’s
                       5/3/12 order on Playtex
9                      MIL # 4; FRE 403
10                     (cumulative); question at
11                     223:3-5 was asked and
                       answered; harassing the
12
                       witness
13
      223:7-223:7      testimony concerns
14                     Playtex internal test that
15                     is not among the three
16                     permitted by the Court’s
                       5/3/12 order on Playtex
17
                       MIL # 4; FRE 403
18                     (cumulative); question at
19                     233:3-5 was asked and
                       answered; harassing the
20
                       witness
21
22
23
24
25
26
27
28
                                             26
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 29 of 55 Page ID
                                     #:14286



1        Plaintiff's                                Defendant's
       Designation     Defendant's Objection        Cntr-Desig    Plaintiff's Objection to
2       (page:line)       to Designation            (page:line)         Cntr-Desig
3     223:9-223:17     FRE 401 (relevance);
4                      FRE 1002, 1004 (best
5                      evidence rule); FRE 802
                       (hearsay); 805 (hearsay
6                      within hearsay);
7                      testimony concerns
8                      Playtex internal test that
                       is not among the three
9
                       permitted by the Court’s
10                     5/3/12 order on Playtex
11                     MIL # 4; FRE 403
                       (cumulative)
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              27
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 30 of 55 Page ID
                                     #:14287



1    PERGAMENT, NANCY (12-01-2011)
2
3            Playtex’s Response to Plaintiff’s Designations: Pursuant to the Court’s

4    instructions, and the agreement of the parties, Ms. Pergament is available to be

5    called as a live witness to testify during Munchkin’s presentation of its case-in-

6    chief. As Ms. Pergament is an available witness, Playtex objects to her testimony

7    proceeding by deposition (see Fed. R. Civ. P. 32(a)(4)), and Playtex thus has not

8    submitted specific objections or counter-designations to Munchkin’s designations

9    for this witness, even though Playtex would have objections if these topics are

10   probed during the live testimony at trial.

11
         Plaintiff's                                   Defendant's
12                       Defendant's Objection                        Plaintiff's Objection to
        Designation                                    Cntr-Desig
                            to Designation                                  Cntr-Desig
13      (page:line)                                    (page:line)

14    4:13-4:17
      8:2-10:23
15
      11:18-12:4
16
      17:9-17:16
17
      18:8-19:10
18
      19:12-20:8
19
      21:20-22:18
20
      22:20-23:19
21
      26:14-26:25
22
      27:3-28:16
23
      29:3-29:16
24
      30:14-30:25
25    31:9-31:13
26    31:24-32:4
27    32:10-34:8
28
                                                  28
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 31 of 55 Page ID
                                     #:14288



1
         Plaintiff's                           Defendant's
2                      Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
                          to Designation                           Cntr-Desig
3       (page:line)                            (page:line)
      39:19-40:24
4
      41:1-41:13
5
      42:8-42:10
6
      42:14-44:25
7
      45:5-45:9
8
      45:19-46:4
9
      46:6-46:16
10
      46:18-47:7
11
      49:2-49:3
12
      49:11-50:4
13    50:6-51:5
14    51:15-51:24
15    52:2-52:25
16    53:3-53:21
17    53:25-54:20
18    54:22-55:12
19    57:14-57:21
20    57:23-57:25
21    58:3-58:20
22    58:22-59:11
23    59:13-60:9
24    60:14-63:20
25    71:23-72:8

26    72:20-72:25

27    74:2-75:12
      75:14-75:22
28
                                         29
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 32 of 55 Page ID
                                     #:14289



1
         Plaintiff's                           Defendant's
2                      Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
                          to Designation                           Cntr-Desig
3       (page:line)                            (page:line)
      75:24-75-25
4
      79:24-80:2
5
      80:5-80:19
6
      80:21-81:18
7
      82:4-82:14
8
      82:21-85:19
9
      85:25-86:8
10
      86:10-87:6
11
      95:13-96:10
12
      96:12-98:23
13    98:25-100:11
14    100:13-100:19
15    100:21-101:17
16    101:19-101:21
17    102:8-102:23
18    103:7
19    104:11-105:9
20    105:11-106:16
21    106:18-107:15
22    107:17-108:9
23    108:22-108:25
24    109:3-109:10
25    109:14-109:21

26    109:25-112:5

27    117:14-118:12
      118:14-120:10
28
                                         30
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 33 of 55 Page ID
                                     #:14290



1
         Plaintiff's                           Defendant's
2                      Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
                          to Designation                           Cntr-Desig
3       (page:line)                            (page:line)
      120:12-120:22
4
      121:13-121:22
5
      122:17-123:9
6
      123:13-123:16
7
      124:3-124:14
8
      124:16-124:24
9
      125:2-125:11
10
      125:24-126:8
11
      126:17-127:9
12
      127:12-128:2
13    128:13-128:16
14    128:18-129:9
15    129:17-131:18
16    131:20
17    132:12-132:23
18    133:5-135:21
19    137:12-142:19
20    142:21-143:2
21    143:4-143:23
22    148:21-149:7
23    152:10-152:18
24    153:20-154:16
25    154:21-155:18

26    155:20-155:23

27    157:4-158:7
      158:9-159:6
28
                                         31
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 34 of 55 Page ID
                                     #:14291



1
         Plaintiff's                           Defendant's
2                      Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
                          to Designation                           Cntr-Desig
3       (page:line)                            (page:line)
      159:8-159:18
4
      15920-160:6
5
      160:8-162:8
6
      162:10 (start
7     w/ "we'll")-
8     162:25
9     163:3-163:5
10    163:7-163:13

11    163:25-164:3

12    165:2-166:3
      166:5-166:12
13
      166:14-166:18
14
      168:14-168:25
15
      169:7-170:8
16
      171:21-173:10
17
      180:19-180:21
18
      181:15-182:9
19
      182:19-182:22
20
      183:12-184:25
21
      186:22-187:9
22
      197:24-198:4
23    198:6-200:6
24    200:8-201:9
25    201:11-202:6
26    202:8-202:17
27    204:14-204:16
28
                                         32
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 35 of 55 Page ID
                                     #:14292



1
         Plaintiff's                           Defendant's
2                      Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
                          to Designation                           Cntr-Desig
3       (page:line)                            (page:line)
      204:18-205:9
4
      206:19-206:22
5
      207:3-207:10
6
      207:12-207:23
7
      207:25-208:4
8
      208:10
9
      208:12-208:23
10
      210:7-210:24
11
      219:20-219:23
12
      220:20-221:5
13    221:16-222:17
14    222:19-223:10
15    223:16-223:24
16    224:2-224:5
17    224:8-224:23
18    224:25-225:5
19    225:14-225:21
20    225:23-228:6
21    228:12-230:2
22    230:17-231:23
23    231:25-232:22
24    232:24-233:5
25    233:16-234:14

26    234:16-234:23

27    235:5-236:15
      236:17-237:13
28
                                         33
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 36 of 55 Page ID
                                     #:14293



1
         Plaintiff's                           Defendant's
2                      Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
                          to Designation                           Cntr-Desig
3       (page:line)                            (page:line)
      238:18-238:21
4
      238:23-239:7
5
      239:17-239:23
6
      239:25-240:18
7
      240:20-241:15
8
      243:3-245:16
9
      245:18-245:20
10
      246:10-246:13
11
      246:15-246:19
12
      246:25-247:9
13    247:11-247:14
14    248:11-249:8
15    249:10-249:13
16    249:18-251:24
17    252:2-252:18
18    252:20-252:23
19    252:25-254:17
20    254:19-254:24
21    257:24-257:25
22    258:3-258:5
23    260:9-260:16
24    260:25-261:5
25
26
27
28
                                         34
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 37 of 55 Page ID
                                     #:14294



1    PERGAMENT, NANCY (01-20-2012)
2
3        Plaintiff's                           Defendant's
                       Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
4                         to Designation                           Cntr-Desig
        (page:line)                            (page:line)
5     274:12-274:24
6     275:3-275:18
7     299:8-299:10
8     299:16-300:12
9     300:14-302:5
10    311:20-312:25
11    316:12-316:13

12    317:7-317:10

13    317:12-318:23
      318:25-319:8
14
      319:10-319:18
15
      319:20-319:22
16
      324:8-324:23
17
      326:10-326:12
18
      326:14-326:20
19
      326:22-327:10
20
      327:12-327:14
21
      328:2-328:17
22
      328:19-328:25
23
      329:2
24    329:4-329:25
25    330:4-330:5
26    330:8-330:12
27    330:16-330:23
28
                                         35
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 38 of 55 Page ID
                                     #:14295



1
2    SIMONSON, ITIMAR (04-06-2012 & 07-13-2012)

3
         Plaintiff's                               Defendant's
4                      Defendant's Objection                     Plaintiff's Objection to
        Designation                                Cntr-Desig
                          to Designation                               Cntr-Desig
5       (page:line)                                (page:line)

6     759:22-763:2
      763:8-765:3      Completeness (FRE 106       765:4-10
7
                       & FRCP 32(a)(6)).
8
      765:11-765:19    Completeness (FRE 106       765:19-23
9     (through         & FRCP 32(a)(6)).
      “diapers”)
10
      765:24-773:13
11
      773:22-774:7
12
      774:12-774:14
13
      774:22-779:2
14
      780:17-781:2
15
      782:1-782:2
16
      782:5-785:10     Delete objection and
17                     ruling on page 783, lines
18                     14-17 (Irrelevant (FRE
                       401 & 402)).
19
20
21
22
23
24
25
26
27
28
                                             36
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 39 of 55 Page ID
                                     #:14296



1
         Plaintiff's                            Defendant's
2                      Defendant's Objection                   Plaintiff's Objection to
        Designation                             Cntr-Desig
                          to Designation                             Cntr-Desig
3       (page:line)                             (page:line)
      785:14-785:25    Completeness (FRE 106   4/6/12
4
                       & FRCP 32(a)(6)).       Deposition –
5                                              11:15-13:20.
6
                                               7/13/12 Trial
7                                              Testimony –
                                               786:1-9
8
9                                              7/13/12 Trial
10                                             Testimony –
                                               786:10-
11                                             788:12,
12                                             788:17-789:9,
                                               790:7-11
13
      790:12
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         37
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 40 of 55 Page ID
                                     #:14297



1
2    SWEETBAUM, DOUGLAS (12-20-2011)

3
         Plaintiff's                                Defendant's
4                      Defendant's Objection                      Plaintiff's Objection to
        Designation                                 Cntr-Desig
                          to Designation                                Cntr-Desig
5       (page:line)                                 (page:line)
      29:12-30:15      Relevance (objection to
6
                       page 29, line 25 (starting
7                      at “and have P&L
                       responsibility…”)
8
                       through line 30:15).
9                      Excluded per Court’s
10                     rulings on Motion in
                       Limine Nos. 1-2.
11
      31:17-32:7
12
      34:12-34:23
13    40:12-40:21
14    44:25-48:10
15    48:23-50:16
16    50:19-51:2 4     Playtex assumes Plaintiff 230:20-23,    Relevance; misleading
17                     has designated 50:19-     234:9-234:15
                       51:2.                     239:15-240:11
18
19                     Completeness (FRE 106
                       & FRCP 32(a)(6)).
20
      54:9-54:14
21
      54:24-55:18
22
      55:20
23
      96:23-97:12      Completeness (FRE 106
24                     & FRCP 32(a)(6)).
25    99:19-99:24
26    102:13-102:14
27    102:17-103:3
28    103:9-103:24
                                             38
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 41 of 55 Page ID
                                     #:14298



1
         Plaintiff's                            Defendant's
2                      Defendant's Objection                    Plaintiff's Objection to
        Designation                             Cntr-Desig
                          to Designation                              Cntr-Desig
3       (page:line)                             (page:line)
      110:24-112:7     Completeness (FRE 106   108:24-109:4;    109:20-21 – Attorney
4
                       & FRCP 32(a)(6));       109:7-110:23;    objection
5                      Relevance.              112:8-11;        110:8-9 – Attorney
                                               112:16-113:5;    objection
6
                                               318:1-13         112:21-23 – Attorney
7                                                               objection
                                                                318:5-6 – Attorney
8
                                                                objection
9                                                               318:1-13 – Relevance;
10                                                              contrary to Playtex’s
                                                                prior position that it
11                                                              would not claim to have
12                                                              stopped making claim at
                                                                issue
13
      118:18-118:25    Completeness (FRE 106   116:22-117:7;
14                     & FRCP 32(a)(6)).       117:10-
                                               118:15; 119:2-
15
                                               4, 119:7-13
16
      119:14-119:21    Completeness (FRE 106   119:22-121:3;
17                     & FRCP 32(a)(6)).       121:5-122:12;
18    137:19-137:22
19    137:25-138:9                             134:10-17
20    138:11
21    140:14- 141:19                           140:4-13         Lack of foundation;
                                                                prejudicial; speculation
22                                                              If objection not
23                                                              sustained, then:
                                                                140:8-9 – Attorney
24                                                              objection
25                                                              Add 139:11-23,
                                                                139:140:3-7 -
26                                                              completeness
27    208:23-209:2     Completeness (FRE 106   265:4-18.
28                     & FRCP 32(a)(6)).
                                          39
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 42 of 55 Page ID
                                     #:14299



1
         Plaintiff's                               Defendant's
2                      Defendant's Objection                      Plaintiff's Objection to
        Designation                                Cntr-Desig
                          to Designation                                Cntr-Desig
3       (page:line)                                (page:line)
      209:5-209:12     Relevance                  203:25-205:4    Relevance; contrary to
4
                                                                  Playtex’s prior position
5                                                                 that it would not claim to
                                                                  have stopped making
6
                                                                  claim at issue;
7                                                                 misleading
                                                                  If objection not sustained
8
                                                                  – 204:10
9
      209:19-210:4     Relevance                  210:9-13,       Excluded pursuant to
10                                                211:10-13       Sensory Spectrum
                                                                  rulings
11
      214:3-214:8      Misleading and
12
                       Relevance – refers to
13                     claim on DGII, not Elite
14    214:11-214:17    Misleading and             214:18-21       214:22-23; 215:1-15 -
                       Relevance – refers to                      Completeness
15                     claim on DGII, not Elite
16    216:24-217:25    Misleading and             218:2-219:16    218:7-8, 219:2-3 –
17                     Relevance – refers to                      Attorney objection
                       claim on DGII, not Elite
18
      299:24-300:3                                297:25-        Relevance; contrary to
19                                                298:23, 299:2- Playtex’s prior position
20                                                14; 299:16-23 that it would not claim to
                                                                 have stopped making
21                                                               claim at issue;
22                                                               misleading
                                                                 If objection not
23                                                               sustained: 298:6 –
24                                                               Attorney objection
25    300:6-300:15
26    302:10-302:12

27    302:15-303:10                               303:11-20

28
                                            40
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 43 of 55 Page ID
                                     #:14300



1
         Plaintiff's                              Defendant's
2                      Defendant's Objection                      Plaintiff's Objection to
        Designation                               Cntr-Desig
                          to Designation                                Cntr-Desig
3       (page:line)                               (page:line)
      307:12-307:20                               308:7-11;       Relevance; contrary to
4
                                                  308:14-309:3;   Playtex’s prior position
5                                                 313:4-314:16;   that it would not claim to
                                                  316:19-24       have stopped making
6
                                                                  claim at issue;
7                                                                 misleading
                                                                  If objection not
8
                                                                  sustained, add:
9                                                                 312:16-312:19, 312:22-
10                                                                313:3, 314:17-18,
                                                                  314:20-315:4, 316:6-
11                                                                316:18, 316:25-317:3,
12                                                                317:6-10
      328:13-328:18    No foundation for
13
                       exhibit
14
      329:12-330:6     No foundation for
15                     exhibit; relevance; FRE
                       403
16
      330:9-330:11     No foundation for
17                     exhibit; relevance; FRE
18                     403
19    332:7-332:17     No foundation for
                       exhibit; relevance; FRE
20                     403
21    333:20-334:15    No foundation for
22                     exhibit; calls for
                       speculation; No personal
23                     knowledge
24    334:18-335:4     No foundation for
25                     exhibit; calls for
                       speculation; No personal
26                     knowledge
27
28
                                            41
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 44 of 55 Page ID
                                     #:14301



1
         Plaintiff's                             Defendant's
2                      Defendant's Objection                    Plaintiff's Objection to
        Designation                              Cntr-Desig
                          to Designation                              Cntr-Desig
3       (page:line)                              (page:line)
      335:6-336:4      No foundation for        336:15-337:12 336:21-22 – Attorney
4
                       exhibit; calls for                     objection
5                      speculation; No personal               Add 337:13-23 (stopping
                       knowledge; Relevance;                  after “I do not.”)
6
                       FRE 403
7
      337:13-338:3     No foundation for
8                      exhibit; Relevance; FRE
                       403
9
      340:11-340:22    Relevance, FRE 403;
10
                       Foundation; Exibit not
11                     on Exhibit List
12    341:8-342:21     Foundation, Relevance;    342:22-343:9
                       FRE 403; Exibit not on
13                     Exhibit List
14    364:20-365:14    No foundation for         365:17-336:3   Unintelligible/non-
15                     exhibit; Relevance; FRE                  sequential
                       403
16
      368:13-368:15    No foundation for
17                     exhibit; Relevance; FRE
18                     403
19    368:17-369:2     No foundation for
                       exhibit; Relevance; FRE
20                     403
21    369:4-369:7      No foundation for
22                     exhibit; Relevance; FRE
                       403
23
      369:9-369:15     No foundation for
24                     exhibit; Relevance; FRE
25                     403

26    369:18-369:21    No foundation for
                       exhibit; Relevance; FRE
27                     403
28
                                            42
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 45 of 55 Page ID
                                     #:14302



1
         Plaintiff's                              Defendant's
2                      Defendant's Objection                     Plaintiff's Objection to
        Designation                               Cntr-Desig
                          to Designation                               Cntr-Desig
3       (page:line)                               (page:line)
      369:23-370:9     No foundation for
4
                       exhibit; Relevance; FRE
5                      403
6     370:11-370:22    No foundation for
                       exhibit; Relevance; FRE
7
                       403
8     370:25-371:10    Mistates Prior
9                      Testimony; Asked and
                       Answered; Relevance;
10
                       FRE 403
11
     SWEETBAUM, DOUGLAS (12-21-2011)
12
13       Plaintiff's                              Defendant's
                       Defendant's Objection                     Plaintiff's Objection to
14      Designation                               Cntr-Desig
                          to Designation                               Cntr-Desig
        (page:line)                               (page:line)
15
      381:6-381:16     Relevance
16
      383:22-384:20    Relevance
17
      384:24-385:9     Relevance
18
      386:5-387:4      Relevance                 473:12-20;     Add 473:21-474:5 -
19                                               564:21-25      completeness
20    Munchkin                                   400:5-10;     Improper counter-
      designation                                400:23-401:14 original designation was
21
      withdrawn                                                withdrawn
22
      444:19-445:25    Completeness (FRE 106     446:2-8;
23                     & FRCP 32(a)(6)).
24    446:9-446:11
25    446:15-446:16    Completeness (FRE 106
                       & FRCP 32(a)(6)).
26
      447:10-447:12
27
28
                                           43
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 46 of 55 Page ID
                                     #:14303



1
         Plaintiff's                                 Defendant's
2                      Defendant's Objection                         Plaintiff's Objection to
        Designation                                  Cntr-Desig
                          to Designation                                   Cntr-Desig
3       (page:line)                                  (page:line)
      447:15-447:22    Completeness (FRE 106         449:20-450:9;   Add 449:9-11 -
4
                       & FRCP 32(a)(6)).             93:24-94:21     completeness
5
      461:10-461:12
6     461:15-462:6                                   408:19-409:6,
7                                                    410:21-
                                                     411:20,
8                                                    411:23-
9                                                    412:15,
                                                     416:21-23,
10
                                                     417:2-419:4
11    554:23-554:24    Document speaks for
12                     itself; lack of foundation;
                       relevance; best evidence
13                     rule; Exibit not on
14                     Exhibit List
15    556:6-558:4      Document speaks for
                       itself; lack of foundation;
16                     relevance; Exibit not on
17                     Exhibit List
18    640:12-22        Lack of foundation
19    640:25-641:6     Calls for legal
                       conclusion; Lack of
20                     foundation
21    641:15-641:24    Calls for legal
22                     conclusion; Lack of
                       foundation
23
      642:3-642:9      Calls for legal
24                     conclusion; asked and
25                     answered

26
27
28
                                              44
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 47 of 55 Page ID
                                     #:14304



1
         Plaintiff's                              Defendant's
2                      Defendant's Objection                    Plaintiff's Objection to
        Designation                               Cntr-Desig
                          to Designation                              Cntr-Desig
3       (page:line)                               (page:line)
      642:13-642:23    Calls for legal
4
                       conclusion; asked and
5                      answered;
                       argumentative; misstates
6
                       prior testimony
7
      642:25
8     643:10-643:16    Incomplete hypothetical;
9                      calls for legal
                       conclusion; asked and
10
                       answered
11    643:19-644:12    Argumentative;
12                     Incomplete hypothetical;
                       calls for legal
13                     conclusion; asked and
14                     answered
15    644:17-644:20    Argumentative;
                       Incomplete hypothetical;
16                     calls for legal
17                     conclusion; asked and
                       answered
18
      644:22           Argumentative;
19                     Incomplete hypothetical;
20                     calls for legal
                       conclusion; asked and
21                     answered
22    648:21-649:6
23    649:13-649:21
24    649:24-650:12
25
26   SWEETBAUM, DOUGLAS (01-20-2012)
27
28
                                            45
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 48 of 55 Page ID
                                     #:14305



1
         Plaintiff's                                Defendant's
2                      Defendant's Objection                        Plaintiff's Objection to
        Designation                                 Cntr-Desig
                          to Designation                                  Cntr-Desig
3       (page:line)                                 (page:line)

4     666:5-667:9      Foundation (exhibit not
                       on exhibit list)
5
      669:20-670:13    Relevance                   673:8-10
6                                                  715:8-20,
                                                   716:10-25
7
      675:2-677:17     Foundation (exhibit not
8
                       on exhibit list)
9                      675:25-676:11:
                       relevance, FRE 403
10
                       (misleading and
11                     confusing)
12    688:10-688:19    Foundation (exhibit not
                       on exhibit list)
13
      689:23-691:4     Lack of Foundation
14                     (exhibit not on exhibit
15                     list); relevance; FRE 403
16    707:16-711:22    Not Competent to Give       711:23-
                       Testimony on subject;       712:25; 715-5-
17                     Lack of Foundation          7
18                     (exhibit not on exhibit
                       list); relevance; FRE
19                     403; Best evidence rule;
20                     no personal knowledge.
21    713:2-715:4      Not Competent to Give
                       Testimony on subject;
22                     Lack of Foundation
23                     (exhibit not on exhibit
                       list); relevance; FRE
24                     403; Best evidence rule;
25                     no personal knowledge;
                       incomplete designation
26                     (answer without
27                     question)
28
                                            46
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 49 of 55 Page ID
                                     #:14306



1
         Plaintiff's                                Defendant's
2                        Defendant's Objection                      Plaintiff's Objection to
        Designation                                 Cntr-Desig
                            to Designation                                Cntr-Desig
3       (page:line)                                 (page:line)
      721:2-728:6       Exhibits 176 & 177:      730:15-731:21
4
                        Exibits not on Exhibit
5                       List; Lack of Foundation
6
7    SWEETBAUM, DOUGLAS (07-13-2012)
8
             Playtex’s Response to Plaintiff’s Designations: Playtex objects to
9
     Plaintiff’s belated designations of Mr. Sweetbaum’s trial testimony, made at 4:16
10
     p.m. on Tuesday, April 23, 2013, five days after the agreed-upon deadline for the
11
     parties to exchange designations had passed. These designations also are
12
     cumulative of the topics covered by the video testimony, and therefore are
13
     unnecessary.
14
15
16       Plaintiff's                                Defendant's
                         Defendant's Objection                      Plaintiff's Objection to
        Designation                                 Cntr-Desig
17                          to Designation                                Cntr-Desig
        (page:line)                                 (page:line)
18    347:1             Cumulative
19    347:3-6           Cumulative
20    347:14-348:3      Cumulative
21    348:16-21         Cumulative
22    351:2-11          Cumulative
23    351:19-353:17     Cumulative
24
25
26
27
28
                                             47
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 50 of 55 Page ID
                                     #:14307



1
         Plaintiff's                              Defendant's
2                      Defendant's Objection                      Plaintiff's Objection to
        Designation                               Cntr-Desig
                          to Designation                                Cntr-Desig
3       (page:line)                               (page:line)
      354:1-355:21     Cumulative
4
                       354:7-25: Calls for
5                      demonstration which
                       cannot be performed
6
                       simply by reading
7                      testimony in the record;
                       FRE 403.
8
      356:2-356:10     Cumulative
9
      357:3-358:22     Cumulative;                358:23-359:3,   Subject matter excluded
10
                       Completeness (FRE 106      359:8-15        pursuant to Sensory
11                     & FRCP 32(a)(6)).                          Spectrum rulings
12    359:20-362:2     Cumulative
13    362:10-363:5     Cumulative
14    363:10-364:3     Cumulative; FRE 403
                       (references questions by
15                     Court); barred by Ruling
16                     on Motion in Limine
                       No. 4
17
      364:9-364:24     Cumulative;            391:11-
18                     Completeness (FRE 106 391:19; 392:1-
19                     & FRCP 32(a)(6)).; FRE 8
                       403 (references
20                     questions by Court);
21                     barred by Ruling on
                       Motion in Limine No. 4
22
      365:1-12         Cumulative
23
      365:21-23        Cumulative
24
      365:25           Cumulative
25
      366:1-8          Cumulative
26
      366:14-367:11    Cumulative
27
28
                                             48
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 51 of 55 Page ID
                                     #:14308



1
         Plaintiff's                            Defendant's
2                      Defendant's Objection                   Plaintiff's Objection to
        Designation                             Cntr-Desig
                          to Designation                             Cntr-Desig
3       (page:line)                             (page:line)
      368:3-371:10     369:16-370:12: Barred
4
                       by Ruling on Playtex
5                      MIL#2; Relevance; FRE
                       403.
6
                       370:13-371:10: Barred
7                      by Ruling on Playtex
                       MIL#5; Relevance; FRE
8
                       403
9
      372:19-373:8     Cumulative;             373:9-10
10                     Completeness (FRE 106
                       & FRCP 32(a)(6)).
11
      374:4-374:19     Cumulative
12
      375:14-377:23    Cumulative;             374:20-
13                     Completeness (FRE 106   375:13;
14                     & FRCP 32(a)(6)).       377:24-378:3
15    378:4-380:1      Cumulative;             380:2-16
                       Completeness (FRE 106
16                     & FRCP 32(a)(6)).
17    380:17-383:2     Cumulative               383:3-19
18                     380:22-381:1: Barred by
                       Ruling on Playtex
19                     MIL#2; Relevance; FRE
20                     403.
                       382:11-21: Relevance
21                     (“Number 1 Selling
22                     Brand” claim is not part
                       of the trial).
23
      383:20-384:23    Cumulative;             384:24-385:18
24                     Completeness (FRE 106
25                     & FRCP 32(a)(6)).
26    393:20-21        Cumulative

27
28
                                          49
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 52 of 55 Page ID
                                     #:14309



1
         Plaintiff's                            Defendant's
2                      Defendant's Objection                  Plaintiff's Objection to
        Designation                             Cntr-Desig
                          to Designation                            Cntr-Desig
3       (page:line)                             (page:line)
      394:18-396:25    Cumulative;              401:9-23;
4
                       Completeness (FRE 106    402:11-18
5                      & FRCP 32(a)(6)).
6     397:24-399:20    Cumulative               397:1-5
                       398:7-399:5: Barred by
7
                       Ruling on Playtex
8                      MIL#2; Relevance; FRE
                       403.
9
                       399:12-20. Barred by
10                     Ruling on Playtex
                       MIL#2; Relevance; FRE
11
                       403
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          50
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 53 of 55 Page ID
                                     #:14310



1    TUROCZI, CAROLYN (12-16-2011)
2
3            Playtex’s Response to Plaintiff’s Designation: Pursuant to the Court’s

4    instructions, and the agreement of the parties, Ms. Turoczi is available to be called

5    as a live witness to testify during Munchkin’s presentation of its case-in-chief. As

6    Ms. Turoczi is an available witness, Playtex objects to her testimony proceeding

7    by deposition (see Fed. R. Civ. P. 32(a)(4)), and Playtex thus has not submitted

8    specific objections or counter-designations to Munchkin’s designations, even

9    though Playtex would have objections if these topics are probed during the live

10   testimony at trial.

11
         Plaintiff's                                 Defendant's
12                         Defendant's Objection                      Plaintiff's Objection to
        Designation                                  Cntr-Desig
                              to Designation                                Cntr-Desig
13      (page:line)                                  (page:line)

14    5:15-5:25
      14:10-14:18
15
      33:15-33:23
16
      35:23-35:25
17
      37:13-37:17
18
      40:9-40:15
19
      40:22-42:15
20
      44:23-45:10
21
      46:9-46:16
22
      47:14-49:5
23
      49:22-50:22
24
      56:23-57:8
25    59:6-62:13
26    92:19-93:5
27    93:16-95:20
28
                                              51
     20225587v2
     Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 54 of 55 Page ID
                                     #:14311



1
         Plaintiff's                           Defendant's
2                      Defendant's Objection                 Plaintiff's Objection to
        Designation                            Cntr-Desig
                          to Designation                           Cntr-Desig
3       (page:line)                            (page:line)
      96:6-99:13
4
      100:14-100:20
5
      106:7-106:17
6
      111:2-113:21
7
      127:3-127:15
8
      127:20-129:16
9
      167:13-167:25
10
      174:20-175:18
11
      175:23-176:13
12
      206:12-208:22
13    210:14-213:13
14    231:11-233:23
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         52
     20225587v2
Case 2:11-cv-00503-ODW-RZ Document 523 Filed 04/29/13 Page 55 of 55 Page ID
                                #:14312




20225587v2
